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  IT IS ORDERED as set forth below:



  Date: July 26, 2019
                                                          _____________________________________
                                                                        Paul Baisier
                                                                U.S. Bankruptcy Court Judge

  _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           )        CASE NO. 18-71767-PMB
                                                 )
MICHAEL J. BLYDENSTEIN,                          )        CHAPTER 7
                                                 )
             Debtor.                             )

   CONSENT ORDER ON TRUSTEE'S OBJECTION TO CLAIMED EXEMPTIONS

         S. Gregory Hays, Chapter 7 Trustee (the "Trustee") for the bankruptcy estate (the

"Estate") of Michael J. Blydenstein ("Debtor") filed an Objection To Claimed Exemptions (the

"Objection") on March 6, 2019 [Doc 28]. The Trustee filed an Amended Objection To Claimed

Exemptions (the "Amended Objection") on March 7, 2019 [Doc 29] upon discovering that a page

had been inadvertently omitted from the Objection. As evidenced by signatures below, the Trustee

and the Debtor consent to the entry of this Order. The Court finds that good cause exists to sustain

the Amended Objection. Accordingly, it is hereby

         ORDERED that the Amended Objection by the Trustee is SUSTAINED.

         IT IS FURTHER ORDERED that the Debtor's claimed exemption of $11,200.00 in real

property known as 1124 DeKalb Avenue #24, Atlanta, Georgia 30307 is reduced to $1,200.00.
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This Order is without prejudice to the Debtor's right to amend his claimed exemption of $21,500

in real property known as 215 Mitchell Street, SW, #9, Atlanta, Georgia 30303 by reducing said

exemption and applying $10,000.00 or less to other property.

                                   [END OF DOCUMENT]


Prepared and presented by:
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